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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

            v.
                                                         Crim. No. 19-cr-18 (ABJ)
 ROGER J. STONE, JR.,

                 Defendant.


                               JOINT PRETRIAL STATEMENT

       Pursuant to the Court’s Scheduling Order entered March 15, 2019 (Doc. 65, at 2–3), the

parties hereby submit a joint pretrial statement.

a)     Joint Statement of the Case

       A proposed joint statement of the case for the Court to read to prospective jurors is attached

to this submission as Exhibit A.

b)     Estimate of the Number of Trial Days

       The government anticipates that its case-in-chief will last approximately five to eight trial

days. The defense anticipates that its case-in-chief will last approximately three to four days,

depending on court rulings.

c)     List of Outstanding Motions in Limine

       Government’s Motions

(1)    Motion in Limine to Admit Two Newspaper Articles as Part of the Government’s Rule

       404(b) Evidence. (Doc. 152-2).

(2)    Motion in Limine to Exclude Certain Evidence and Argument Regarding Russian Election

       Interference. (Doc. 153).



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(3)    Motion in Limine to Exclude Evidence and Argument Regarding the Government’s

       Investigation and Prosecution of This and Related Cases. (Doc. 154).

(4)    Motion in Limine to Admit the Upload or Creation Date for Various Videos. (Doc. 155).

(5)    Motion in Limine to Admit Movie Clip. (Doc. 156).

(6)    Motion for In Camera Review of Redacted Witness Statements (Doc. 176) (filed under

       seal)

       Defendant’s Motion

(1)    Motion in Limine to Admit Evidence that WikiLeaks Did Not Receive Stolen Data from

       Russia. (Doc. 158).

d)     Proposed Jury Instructions

       A copy of the parties’ proposed instructions (including instructions from the Standardized

Criminal Jury Instructions for the District of Columbia) is attached to this submission as Exhibit

B. Objections are noted in bold.

e)     List of Expert Witnesses

       The government does not intend to call an expert witness in its case-in-chief. The defense

may call two expert witnesses depending on the Court’s ruling on its motion in limine (Doc. 158).

f)     List of Prior Convictions

       The government is not aware of any prior convictions of the defendant.

g)     List of Exhibits

       A copy of the government’s exhibit list is attached to this submission as Exhibit C. The

defense objections to the government’s exhibits are listed in the far right column.           The

government’s exhibit list includes three summary exhibits offered pursuant to Federal Rule of

Evidence 1006. The defense objects to those summary exhibits.



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       A copy of the defense’s exhibit list is attached to this submission as Exhibit D. The

government’s objections to the defendant’s exhibits are listed in the far right column. The parties

request the Court’s permission to amend their exhibit lists in advance of trial as needed during the

course of trial preparation.

h)     Stipulations

       The parties have agreed to three stipulations. They are attached as Exhibit E.

i)     Judicial Notice

       The parties are not requesting judicial notice at this time.

j)     Proposed Verdict Form

       A copy of the government’s proposed verdict form is attached as Exhibit F. A copy of the

defense’s proposed verdict form is attached as Exhibit G.


                                                      Respectfully submitted,

                                                      JESSIE K. LIU
                                                      U.S. Attorney for the District of Columbia

                                                 By: /s/
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